     Case 1:19-cr-00018-ABJ Document 28-1 Filed 02/08/19 Page 1 of 6   1


 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3     United States of America,       ) Criminal Action
                                       ) No. 19-CR-018
 4                        Plaintiff,   )
                                       ) STATUS CONFERENCE
 5     vs.                             )
                                       ) Washington, DC
 6     Roger Jason Stone, Jr.,         ) February 1, 2019
                                       ) Time: 2:11 p.m.
 7                        Defendant.   )
       ___________________________________________________________
 8
                     TRANSCRIPT OF STATUS CONFERENCE
 9                              HELD BEFORE
                  THE HONORABLE JUDGE AMY BERMAN JACKSON
10                     UNITED STATES DISTRICT JUDGE
       ____________________________________________________________
11
                              A P P E A R A N C E S
12
       For the Plaintiff: Michael John Marando
13                        Jonathan Ian Kravis
                          U.S. ATTORNEY'S OFFICE FOR THE
14                          DISTRICT OF COLUMBIA
                          555 Fourth Street, NW
15                        Washington, DC 20530
                          (202) 252-7068
16                        Email: Michael.marando@usdoj.gov
                          Email: Jonathan.kravis3@usdoj.gov
17                        Jeannie Sclafani Rhee
                          Aaron Simcha Jon Zelinsky
18                        U.S. DEPARTMENT OF JUSTICE
                          Special Counsel's Office
19                        950 Pennsylvania Avenue, NW
                          Washington, DC 20530
20                        (202) 616-0800
                          Email: Jsr@usdoj.gov
21                        Email: Asjz@usdoj.gov

22     For the Defendant: Robert C. Buschel
                          BUSCHEL & GIBBONS, P.A.
23                        One Financial Plaza
                          100 S.E. Third Avenue
24                        Suite 1300
                          Ft. Lauderdale, FL 33394
25                        (954) 530-5301
                          Email: Buschel@bglaw-pa.com
     Case 1:19-cr-00018-ABJ Document 28-1 Filed 02/08/19 Page 2 of 6     2


 1     For the Defendant: Tara A. Campion
                          LAW OFFICE OF BRUCE S. ROGOW, P.A.
 2                        100 NE 3rd Avenue
                          Suite 1000
 3                        Fort Lauderdale, FL 33301
                          (954) 767-8909
 4                        Email: Tcampion@rogowlaw.com

 5     Also present:      FBI Case Agent Michelle Taylor
                          FBI Case Agent Curtis Heide
 6     ____________________________________________________________

 7     Court Reporter:             Janice E. Dickman, RMR, CRR
                                   Official Court Reporter
 8                                 United States Courthouse, Room 6523
                                   333 Constitution Avenue, NW
 9                                 Washington, DC 20001
                                   202-354-3267
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:19-cr-00018-ABJ Document 28-1 Filed 02/08/19 Page 3 of 6          16


 1                  Okay.   You guys can be seated.      I have a couple more

 2     issues I want to raise.      This is a case that's already received

 3     and is going to continue to receive a great deal of public

 4     attention.    I expect the lawyers to familiarize themselves with

 5     Local Criminal Rule 57.7(b) that talks about the conduct of

 6     attorneys in criminal cases, and to comply with its provisions.

 7                  One provision, 57.7(b)(1), provides that it's the

 8     duty of the lawyer or law firm not to release or authorize the

 9     release of information or opinion which a reasonable person

10     would expect to be disseminated by means of public

11     communication in connection with a pending or imminent criminal

12     litigation with which the lawyer or lawyer firm is associated,

13     if there's a reasonable likelihood that such dissemination will

14     interfere with a fair trial or otherwise prejudice the due

15     administration of justice.       And this goes for both sides,

16     obviously.

17                  Rule 57.7(c) contains specific guidance for what

18     should be done in widely publicized cases.          In this case, I'm

19     sure it's no surprise to anyone, that I've noticed that there's

20     already been considerable publicity, fueled in large part by

21     extrajudicial statements of the defendant himself.              I recognize

22     that the arrest and indictment were public and the defendant

23     may have justifiably felt the need to get his story out.             But

24     there's no question that at this point he certainly had that

25     opportunity.
     Case 1:19-cr-00018-ABJ Document 28-1 Filed 02/08/19 Page 4 of 6       17


 1                  And since this is a criminal proceeding and not a

 2     public relations campaign, and since it's incumbent upon me to

 3     ensure the fairness and the dignity of these proceedings, and I

 4     need to take into consideration the interest and the safety of

 5     the government, the defendant, the witnesses, the jurors, the

 6     court personnel, and the public, I believe that it behooves

 7     counsel and the parties to do their talking in this courtroom

 8     and in their pleadings and not on the courthouse steps or on

 9     the talk show circuit.

10                  And so to that end, I am considering -- I have not

11     yet decided -- that in light of my obligation to safeguard the

12     defendant's right to a fair trial, and also to ensure that we

13     will have the ability to seat a jury that has not been tainted

14     by pretrial publicity in this matter, of issuing a written

15     order, pursuant to Local Rule 57.7(c).         It would require all

16     parties and counsel for both sides to, quote, refrain from

17     making further statements to the media or in public settings

18     that are substantially likely to have a materially prejudicial

19     effect on the case, close quote.        It would not be directed at

20     one side or the other, it would be directed to both.

21                  It would not be a bar on all public relations,

22     activities or press communications, but only those related to

23     this case.    A party could discuss foreign relations,

24     immigration or Tom Brady as much as they wanted.           I would be

25     happy to hear from either side right now if you wanted to note
     Case 1:19-cr-00018-ABJ Document 28-1 Filed 02/08/19 Page 5 of 6          18


 1     any objections on the record at this time.          But that will not

 2     be necessary because I'm going to give you each an opportunity

 3     to tell me what your position is in writing.          And if you're

 4     opposed, to provide me the reasons why I shouldn't do this in

 5     writing.    And those submissions will be due next Friday,

 6     February 8.

 7                 As you consider what your position might be, there

 8     are a few things that I would encourage everyone to think

 9     about.   First, I think it's important that the defendant should

10     be aware that to the extent any of his public pronouncements

11     turn out to be inconsistent with each other or bear on the

12     facts of the case in any way, the Office of Special Counsel

13     will be free to introduce any of them as evidence against him

14     at trial.

15                 Also, I want to recognize and I think it's important

16     that this defendant has a legitimate interest in exercising his

17     First Amendment rights.      But he's also affirmed that he has an

18     interest in exercising his constitutional right to have a trial

19     and to put the government to its proof.         And it's my

20     responsibility to ensure that he has a fair trial.              Right now,

21     notwithstanding the fact that the defendant may be well known

22     within certain circles, I believe that we will be able to seat

23     an unbiased jury, that doesn't have an opinion about the

24     allegations in this case.

25                 But the problem is, while Mr. Stone may wish to be
     Case 1:19-cr-00018-ABJ Document 28-1 Filed 02/08/19 Page 6 of 6       19


 1     free to disseminate his response to those allegations in his

 2     public appearances, every time he does the media outlets may

 3     feel constrained to reiterate in detail what the allegations

 4     are in the indictment in response.

 5                  And so the upshot of treating the pretrial

 6     proceedings in this case like a book tour could be that we end

 7     up with a much larger percent of the jury pool that's been

 8     tainted by pretrial publicity than we have now, and that's what

 9     it's my job to balance here.       I want to say, again, I haven't

10     heard from both sides, I haven't made up my mind.           And I will

11     read and seriously consider anything either side submits.          But

12     that's what I'm looking to be enlightened about.

13                  But now having heard all of that, I've covered every

14     issue I wanted to cover.       Is there anything that the government

15     wants to add or that I need to take up today?

16                  MR. MARANDO:   Court's indulgence, Your Honor.

17                  THE COURT:   All right.

18                  (Pause.)

19                  MR. MARANDO:   Thank you, Your Honor.       The only thing

20     that I can think of that is left, to have a formal speedy trial

21     determination made on the record.

22                  THE COURT:   I think I said I granted your motion,

23     that this is a complex case.

24                  MR. MARANDO:   Thank you, Your Honor.       That is all.

25     Thank you.
